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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK



  THE INTERCEPT MEDIA, INC.,

                    Plaintiff,

               v.
                                                  Case No. 1:24-cv-01515-JSR
  OPENAI, INC., OPENAI GP, LLC, OPENAI,
  LLC, OPENAI OPCO LLC, OPENAI GLOBAL
  LLC, OAI CORPORATION, LLC, OPENAI
  HOLDINGS, LLC, and MICROSOFT
  CORPORATION,
                    Defendants.




 DEFENDANT MICROSOFT CORPORATION’S SUPPLEMENTAL MEMORANDUM
 IN SUPPORT OF ITS MOTION TO DISMISS THE FIRST AMENDED COMPLAINT




July 8, 2024
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                                PRELIMINARY STATEMENT

       The Intercept was afforded a chance to “rectify … the seeming lack of specificity” in its

initial Complaint, ECF No. 81 at 1, but the Amended Complaint makes clear that The Intercept

does not face a specificity problem—its problem is reality. In particular, two inconvenient

realities stand in the way of The Intercept ever alleging a viable § 1202(b) claim. First, the GPT-

based tools have never generated, and no facts plausibly suggest they are likely ever to generate,

outputs matching The Intercept’s copyrighted works. And second, Microsoft was not involved

in creating the datasets underlying the training process from which The Intercept’s § 1202(b)

claims arise, and therefore should never have been named as a Defendant in this case. Because

the Amended Complaint fails to establish standing or state a claim against Microsoft, the two

counts against Microsoft should be dismissed with prejudice.

       On the question of whether the accused GPT-tools—OpenAI’s ChatGPT or Microsoft’s

“Copilot AI”—have or will output The Intercept’s copyrighted material, The Intercept admitted

at oral argument that it sued before even attempting to find out. June 3, 2024 Hrg. Tr. (“Hrg.

Tr.”) 22:17-23:9. Now it has tried and failed. With respect to ChatGPT, The Intercept fed it a

“snippet” consisting of several paragraphs of one of its articles, terminated in the middle of a

sentence, then asked ChatGPT to “complete [the snippet] verbatim.” FAC Ex. 6 at 1. In three

examples, ChatGPT finished the sentence with a handful of words—a nubbin appended to an

Intercept-supplied snippet.

       But no user would ever even ask ChatGPT this kind of thing! Such a user would already

need to have The Intercept’s article to prompt ChatGPT in that way, and in any event there is no

value to a user in a completed half-sentence. The Intercept does not allege otherwise and fails to

offer any example of output of its works under realistic conditions. As for Microsoft’s Copilot

tool, The Intercept seemingly nabbed not even a nubbin, providing no examples of Copilot
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outputs. That no GPT-based tool has emitted any of The Intercept’s works leaves The Intercept

without standing to pursue § 1202(b) claims. Without an output, there is no public dissemination

of a CMI-less copy of The Intercept’s works; without public dissemination, there is no concrete

injury. The removal of CMI or distribution of CMI-less works during behind-the-scenes training

of the GPT models causes no harm. Infra § I.

       The Intercept also has uncovered no basis for suing Microsoft for removal of CMI from

its works. Because The Intercept can allege no output of its works, it brings a case solely based

on the creation of datasets to train the GPT tools. The initial Complaint attempted to connect

Microsoft to training by alleging, “upon information and belief,” that Microsoft “created

Common Crawl datasets” in connection with training. Compl. ¶ 31. The Intercept removes this

dubious assertion from its Amended Complaint. Meanwhile, it adds various new assertions

about how OpenAI allegedly created “WebText” datasets, using software called “Dragnet and

Newspaper” that extracts only an article’s main text. FAC ¶¶ 45-58. Whatever these allegations

are worth in a claim against OpenAI, The Intercept does not and cannot allege them against

Microsoft. Its § 1202(b) claims rest on nothing but the fact of Microsoft’s general collaboration

with OpenAI and provision of computing and cloud technology, a legally insufficient basis for

liability under § 1202(b). Infra § II.A.

       Finally, the absence of any output of The Intercept’s works—especially when coupled

with Microsoft’s lack of involvement with the training process—makes it impossible for The

Intercept to plausibly establish § 1202(b)’s scienter requirement. It is objectively implausible

that removal of CMI could ever facilitate or conceal copyright infringement because the GPT-

based tools are unlikely to ever reproduce The Intercept’s content at all. Certainly it is not

plausible that Microsoft—which was not involved in creating training datasets for the GPT-based


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tools and whose own tool is not alleged to have emitted The Intercept’s works—had any reason

to believe that removal of CMI would facilitate piracy. Infra II.B.

       The Court should dismiss the claims against Microsoft with prejudice.

                                          ARGUMENT

I.     THE INTERCEPT LACKS STANDING BECAUSE IT FAILS TO ALLEGE AN
       ACTUAL OR THREATENED INJURY.

       As explained previously, The Intercept lacks standing because the mere removal of CMI

in a non-public setting, without public dissemination of the CMI-stripped copy, causes no

concrete injury, and therefore cannot support standing. Mot. 8-13; Reply 2-5. The Amended

Complaint fails to solve this defect.

       The Amended Complaint does not plausibly allege any real-world public dissemination,

via any GPT-based tool, of any copy of an Intercept work without CMI. Quite the opposite, it

concedes that when The Intercept tried to get ChatGPT to “regurgitate[] material,” ChatGPT

refused. FAC ¶ 66. Even when The Intercept entered multi-paragraph prompts that no user

would employ, all The Intercept got was a dozen-or-so words finishing a sentence. FAC, Ex. 6.

The notion that this has or would ever happen in the real world, without The Intercept’s self-

infliction, is beyond “conjectural” and “hypothetical”—it is far-fetched. See Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560 (1992). And even if it did happen, it is hard to see how ChatGPT

supplying the last few words to a user who already has the first five paragraphs could be

“remotely harmful,” TransUnion LLC v. Ramirez, 594 U.S. 413, 426 (2021) (citation omitted).

       Previously, The Intercept has pointed to its allegation that Microsoft has removed CMI

and then “shared copies of Plaintiffs’ works … with the OpenAI Defendants” to argue that

dissemination between the Defendants would cause injury. Opp. 23-24; see FAC ¶ 75. This

argument is audacious because The Intercept fails to offer a single substantive allegation


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suggesting that Microsoft was involved in creating datasets for GPT at all—let alone involved so

comprehensively to support the conclusion that Microsoft must have obtained The Intercept’s

works, stripped CMI, then sent them to OpenAI. But even if this speculation were indulged,

dissemination between the Defendants is not the sort of public lack of attribution that may cause

injury. It would be like if the defendant credit agency in TransUnion transferred an inaccurate

file to another credit reporting agency; if neither “provide[d] those plaintiffs’ credit information

to any potential creditors,” there would still be no cognizable harm. 594 U.S. at 430, 433.

       Because The Intercept will never be able to allege the sort of public dissemination

necessary to claim injury from lack of attribution, it tries to analogize its injury to copyright

infringement instead. It claims that the injury it suffers from non-public removal of CMI “is the

interference with [its] property.” Hrg. Tr. 13:18-19. If The Intercept is claiming that the CMI

itself is the “property” interfered with, that cannot work because CMI is nothing like intellectual

property. It is merely attribution “information conveyed in connection with copies … of a

work.” 17 U.S.C. § 1202(c); Reply 3-4.

       If instead The Intercept is arguing that its copyrighted articles are the property, and that

removal of CMI interferes with that property interest, it is simply begging the question of

whether CMI removal is indeed analogous to the sorts of invasions of copyright interests

cognizable historically or at common law, TransUnion, 594 U.S. at 424-25. If a neighbor looked

askance at your untended lawn, you could not claim Article III injury merely by touting

“interference with property” as a common law analogue. A plaintiff needs to articulate a

property-based injury that is historically cognizable. Here The Intercept cannot do so because

there is no historical basis for treating the mere removal of a title or obscuring of authorship

information as interfering with copyright interests. Just the opposite, American law traditionally


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rejected droit morale—the moral rights theories that would recognize injury based on harm to

attribution or expressive integrity. See Mot. 10; Reply 2-4; see U.S. Copyright Office, Authors,

Attribution, and Integrity: Examining Moral Rights in the United States (April 2019). Simply

put, The Intercept has not and cannot identify any historical basis for treating the removal of

information about a copyright work as a cognizable interference with such a work.

       All of this distinguishes this case from the Second Circuit’s decision in Saba Cap. Cef

Opportunities 1, Ltd. v. Nuveen Floating Rate Income Fund, 88 F.4th 103 (2d Cir. 2023), which

The Intercept says supports standing here. Hrg. Tr. 12:20-13:6. Saba involved corporate action

depriving shareholders of voting rights, which were “analogous to property interests.” 888 F.4th

at 115. There, unlike here, the plaintiff suffered “concrete harm” because the defendant’s actions

“encumbered” its “shares’ voting rights,” thereby “impair[ing] the shares’ ‘condition, quality, or

value.’” Id. at 116. That injury was “analogous to a property-based injury like conversion or

trespass to chattels.” Id. But CMI is not intellectual property, and its bare removal has never

been understood to invade copyright interests. Only public dissemination of works without CMI

could conceivably result in the sort of “presentation of … work to the public in a distorted form”

or “false impression of … origin” that might qualify as injury, Gilliam v. Am. Broad. Cos., 538

F.2d 14, 24 (2d Cir. 1976). Because The Intercept cannot allege such dissemination, this Court

should dismiss the suit for lack of standing.

II.    THE INTERCEPT FAILS TO STATE A DMCA § 1202 CLAIM.

       A.      The FAC Does Not (And Cannot) Plausibly Allege That Microsoft Removed
               CMI Or Distributed Works Lacking CMI.

       The Amended Complaint also fails to state a claim against Microsoft because it lacks any

plausible allegations that Microsoft engaged in the removal of CMI or distribution of works

lacking CMI. The Amended Complaint contains no specific allegation substantiating the how or


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when of Microsoft allegedly obtaining The Intercept’s works; removing CMI from them; using

them to train any GPT-based model or tool; or even possessing copies of The Intercept’s works.

Instead, The Intercept bases its claims against Microsoft on three allegations and invites the

Court to draw incredibly tenuous suppositions from them.

       Quote from Satya Nadella. New to the Amended Complaint is The Intercept’s repeated

invocation of Microsoft CEO Satya Nadella’s statement in an interview that Microsoft could

“continue the innovation” if “OpenAI disappeared” because “we have the data, we have

everything.” FAC ¶ 23. The Intercept then extrapolates from this that Microsoft “has created,

without Plaintiff’s permission, its own copies of Plaintiff’s copyright-protected works of

journalism.” FAC ¶ 73. Even if The Intercept were fairly quoting Mr. Nadella, the statement

“we have the data” hardly supports the conclusion that Microsoft made copies of The Intercept’s

works, let alone the further necessary inference that Microsoft removed CMI from The

Intercept’s works.

       But The Intercept is not fairly quoting him. The partial quote omits the full context from

the article, which the Amended Complaint incorporates by reference.* What Mr. Nadella says is

that Microsoft has “all of the rights” to continue OpenAI’s work. He then goes on to explain

precisely what Microsoft does in connection with development of the GPT-based products: “We

do the kernel optimizations, we build tools, we build the infrastructure.” Id. In context, the

quote says only that Microsoft has provided technology and infrastructure to OpenAI and that its

investment in OpenAI confers certain “rights” to continue the innovation in which Microsoft has

invested.



*
 Intelligencer Staff, Satya Nadella on Hiring the Most Powerful Man in AI, Intelligencer (Nov.
21, 2023), https://nymag.com/intelligencer/2023/11/on-with-kara-swisher-satya-nadella-on-
hiring-sam-altman.html.
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       Provision of Technology. The Intercept next tries to draw inferences from allegations

that Microsoft “created and hosted the data centers used to develop ChatGPT,” FAC ¶ 74, and

“provi[ded] database and computing resources,” FAC ¶ 75. From this provision of technology,

The Intercept leaps directly to conclusory allegations that “Microsoft intentionally removed”

CMI and “shared copies of Plaintiff’s works.” FAC ¶¶ 74-76. These conclusions do not follow.

As Microsoft has explained, it is well-settled in the copyright context that providing someone the

technology and infrastructure that is used to commit some act is not the same thing as

committing that act oneself (and certainly not intentionally). Mot. 19-20 (citing Cartoon

Network LP, LLLP v. CSC Holdings, Inc., 536 F.3d 121, 131 (2d Cir. 2008)). The Intercept must

plausibly allege facts showing that Microsoft itself removed CMI, not that someone else did so

using a Microsoft computer. And tellingly, The Intercept does include allegations that purport to

explain how OpenAI has actually removed CMI from works for purposes of creating GPT

training sets, but does not claim that Microsoft engaged in that conduct. It invokes the provision

of technology because it has nothing else to go on.

       Relationship with OpenAI. What remains of the Amended Complaint is The Intercept’s

guilt-by-association theory—that whatever it has alleged against OpenAI must also be true of

Microsoft because of “the relationship” between the companies. As Microsoft has explained (at

Mot. 19), “[t]he fact that two companies … do work together” is insufficient “to attribute their

acts to one another.” Como v. Commerce Oil Co., 607 F. Supp. 335, 340 (S.D.N.Y. 1985). And

that is all the Amended Complaint alleges: that because Microsoft and OpenAI have a

collaboration, Microsoft must have been involved in the highly technical process of LLM

training and thus must have removed CMI from Intercept works during such training or

distributed such works. That is far from enough to “allow[] a potentially massive factual


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controversy to proceed,” Bell Atlantic v. Twombly, 550 U.S. 544, 558 (2007) (quotation marks

omitted), which is why district courts are empowered to require plaintiffs to “rectify … [a] lack

of specificity” in a complaint, ECF No. 81 at 1, before greenlighting a lawsuit. Microsoft should

not have to defend against liability on the basis of The Intercept’s non-existent allegations about

Microsoft’s involvement in LLM training.

       B.      The FAC Does Not Plausibly Allege A Likelihood That Removal Of CMI
               During Training Of An AI Tool Will Induce, Enable, Facilitate, Or Conceal
               Infringement.

       Finally, the Amended Complaint fails to state a § 1202(b) claim because The Intercept

does not allege a likelihood of infringement of its works, as necessary to establish Microsoft’s

awareness that removal of CMI from a work in a training set will somehow “induce, enable,

facilitate, or conceal” such infringement under 17 U.S.C. § 1202(b). Mot. 20-23; Reply 8-10.

       The Intercept does not dispute that a § 1202(b) claim requires it to establish that it is

“likely from an ex ante perspective” that CMI removal will somehow conceal or facilitate

infringement. Hrg. Tr. 22:4-5, 21-22; see Stevens v. Corelogic, Inc., 899 F.3d 666, 675 (9th Cir.

2018). It seems to advance two theories, both entirely conclusory. One is that removal of CMI

will “conceal copyright infringement by Defendants,” FAC ¶ 109, ostensibly referring to alleged

infringement during training, see FAC ¶¶ 77-81 (allegations concerning OpenAI’s conduct

during training). But The Intercept ventures no theory for how the absence of CMI would

conceal such infringement, whom it would conceal it from, or how the presence of CMI would

reveal infringing conduct during training that would otherwise be kept under wraps. See

Tremblay v. OpenAI, Inc., No. 23-cv-03223, 2024 WL 557720, at *3-4 (N.D. Cal. Feb. 12, 2024).

       The Intercept’s other theory is output-based, so it is a non-starter for reasons already

explained. The Intercept says that “inclusion in training sets of Plaintiff’s works of journalism

without [CMI] would induce ChatGPT and Bing AI products to provide responses to users that
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incorporated material from Plaintiff’s copyright-protected works or regurgitated copyright-

protected works verbatim or nearly verbatim.” FAC ¶ 105. Then, the theory continues, users

will “distribute or publish responses” they receive, which they “would not have” done if CMI

were never removed during training. FAC ¶ 106.

       As already explained, the best The Intercept could get ChatGPT to “regurgitate” was a

handful of words that completed a four- or five-paragraph excerpt The Intercept itself supplied.

So its theory is built on a string of suppositions that become more and more farcical as you read

them. First, someone randomly comes upon five full continuous paragraphs of an Intercept

article with the last sentence cut off. Then, not knowing that it is an Intercept article, this person

feeds it to ChatGPT and asks for the remainder of the sentence. ChatGPT returns some words to

complete the sentence, but does not provide The Intercept’s CMI. This imaginary user then

further distributes the second half of the sentence as a result of ChatGPT not providing the CMI.

       Plausibility is about “reasonable inference[s].” Ashcroft v. Iqbal, 556 U.S. 662, 663

(2009) (emphasis added). The Amended Complaint is a house of cards. Nothing in the

Amended Complaint explains why any real-world user with access to an article would prompt a

GPT-based tool in the way The Intercept has. Its allegations are nothing but lawyer contrivances

necessitated by the basic reality that the AI tools at issue simply do not output The Intercept’s

works. See Order, Doe 1 v. GitHub, Inc., No. 22-cv-06823-JST (N.D. Cal. June 24, 2024), ECF

No. 253 at 5-6 (CMI claims must be based on GPT-based tools in “normal operation”) (emphasis

added). And even if there was some likelihood that one of the GPT-based tools would output

The Intercept’s works, The Intercept still fails to allege why (a) an end-user would be inclined to

make a further use of an undescribed, unattributed natural-language output; (b) that use would be

infringing—versus a fair use, 17 U.S.C. § 107; and (c) why a user so inclined would not make


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such a use if it observed CMI. Without such an account, there is no reason to believe that

removing CMI to train an AI model would facilitate piracy, as necessary for a § 1202(b) claim.

                                                ***

         Courts have repeatedly and decisively rejected § 1202 challenges to LLM-based tools for

a simple reason: Those tools typically do not output identical copies of plaintiffs’ works at all,

making it impossible to plead removal of CMI from such copies or likely piracy caused by such

removal. Doe 1, No. 22-cv-06823-JST (N.D. Cal. June 24, 2024), ECF No. 253, at 4-6;

Tremblay, 2024 WL 557720, at *4-5; Andersen v. Stability AI Ltd., No. 23-cv-201-WHO, 2023

WL 7132064, at *10-11 (N.D. Cal. Oct. 30, 2023). In the face of this ever-growing line of

decisions, The Intercept sought a loophole. It would avoid even finding out if a GPT-based tool

ever would output its works without CMI, focusing only on conduct during their training.

         But the workaround does not work. It does not work because the non-public removal of

CMI does not injure The Intercept. It does not work because without outputs matching The

Intercept’s works, there is no reason to believe removal of CMI will in any way facilitate or

conceal piracy—the ill to which § 1202(b) is directed. And when it comes to Microsoft, the

theory does not work because The Intercept cannot allege that Microsoft actually engaged in the

removal of CMI or distribution of CMI-stripped works that allegedly took place at the training

stage.

                                          CONCLUSION

         The Court should grant the motion to dismiss in its entirety and dismiss the claims

against Microsoft with prejudice.




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